Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page1of64 Page ID #:3

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COOLEY LLP

MICHAEL G. RHODES (116127) (thodesmg@ cooley, com)

PATRICK P. GUNN (172258) (pgunn @cooley.com) I2SEP 19 PR I:5]
DYLAN R. HALE (240898) (dhale@cooley.com)

RAY A. SARDO (245421) (rsardo@cooley.com) CLERK Ue i SRI: COURT
101 California Street CEN ee eLES. SLIP.
5th Floor “OO ANGELES

San Francisco, CA 94111-5800 BY:

Telephone: (415) 693-2000

Facsimile: (415) 693-2222

  

 

Attorneys for Defendants
WILLIAM R. HOLLIDAY, an Individual; and HOLLIDAY IT
SERVICES, INC., a California corporation
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

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INTERNET BRANDS, INC., a Delaware G V clita?
corporation,

 

Cal. Superior Court, County of Los
Plaintiff, Angeles, Case No.: YC067706

v. NOTICE OF REMOVAL OF ACTION
UNDER 28 U.S.C, §§ 1331, 1367, 1338,
1441, AND 1446, AND 15 U.S.C, § 1121(a)
WILLIAM RYAN HOLLIDAY, an
Individual; HOLLIDAY IT SERVICES,
INC., a California corporation; and JAMES
HEILMAN, an individual; and DOES 1-10, Complaint Filed: August 28, 2012
inclusive,

Defendants.

 

 

 

 

TO THE CLERK OF THE ABOVE-ENTITLED COURT:

PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1331, 1367(a), 1338, 1441, 1446, and
15 U.S.C. § 1121(a), defendants William R. Holliday (“Ryan Holliday”) and Holliday IT
Services, Inc. (“Holliday IT Services”) (collectively “Holliday Defendants”), by their undersigned
attorneys, hereby remove the above-captioned civil action, and all claims and causes of action

therein, from the Superior Court of California, County of Los Angeles, to the United States

1. NOTICE OF REMOVAL OF ACTION

 
Case

CooLey LLP

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P:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 2of64 Page ID #:4

District Court for the Central District of California, Western Division. Holliday Defendants state
as follows:
Jurisdiction and Authority for Removal

1) On August 28, 2012, an action was commenced by plaintiff Internet Brands, Inc.
(“Plaintiff’ or “IB”) against the Holliday Defendants and James Heilman in the Superior Court of
the State of California for the County of Los Angeles, entitled “INTERNET BRANDS, INC., a
Delaware corporation v. WILLIAM RYAN HOLLIDAY, an Individual; HOLLIDAY IT
SERVICES, INC., a California Corporation; and JAMES HEILMAN, an individual; and DOES
1-10, inclusive” (“Internet Brands”), with case number YC067706. This removal is therefore
timely under 28 U.S.C. § 1446(b).

2) Attached hereto as Exhibit A are all documents served on the removing
defendants in the Internet Brands case file, including a copy of the Internet Brands Complaint.

3) The Central District of California, Western Division, encompasses Los Angeles
County.

4) This Court has original jurisdiction over this action under 28 U.S.C. § 1331, 1338
and 15 U.S.C. § 1121(a) because the Complaint alleges, as Count II, a violation of the “Lanham
Act, § 43(a), 15 U.S.C. § 1125.” Thus, removal is based on a claim “arising under” federal law.

5) This Court has supplemental jurisdiction over Counts I, III, and IV of this action
because these counts are so related to Count I that they form part of the same case or controversy
under Article III of the United States Constitution. See 28 U.S.C. § 1367.

6) The Holliday Defendants may thus remove this action to this Court under 28
U.S.C. § 1441.

Joinder of All Defendants in Notice of Removal

7) All Holliday Defendants are joined in this notice of removal, but defendant James

Heilman is not joined because he has not been served, and is therefore not required to join in the

removal.! See Destfino v. Reiswig, 630 F.3d 952, 957 (9th Cir. 2011).

 

' Plaintiff has also failed to complete valid service on defendant Ryan Holliday, but defendant Ryan Holliday does
not contest the service defects.

2. NOTICE OF REMOVAL OF ACTION

 

 
Case|2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 3of64 Page ID#:5

1 | Notice to Plaintiff and Superior Court of Removal of Civil Action

 

2 8) Holliday Defendants will promptly serve a copy of this Notice of Removal on

3 | counsel for Plaintiff and will file a copy of this Notice of Removal with the Clerk of the Superior

 

4 | Court of California for the County of Los Angeles pursuant to 28 U.S.C. § 1446(d).
5 || Dated: September 19, 2012 COOLEY LLP
MI LG. RHODES (116127)
6 PATRICK P. GUNN (172258)
DYLAN R\ HALE (240898)
7 RAY A. SARDO (24542
8 1
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Patrick P. Gunn (174258)
10 Attorneys for Defendants William R. Holiday and
Holliday IT Services,\Inc.
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COOLEY LLP
ATTORNEYS AT LAW 3. NOTICE OF REMOVAL OF ACTION

SAN FRANCISCO

 

 
Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 4of64 Page ID #:6

EXHIBIT A
To Notice of Removal
Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page5of64 Page ID#:7

08/29/2012 11:11 FAX 3106468379 Westside Justice ; 0003/0015

SUMMONS Fan
(CITAGION JUDICIAL) | CONFORMED c oPy
NOTICE TO DEFENDANT: - :
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WILLIAM RYAN HOLLIDAY, an Individual; HOLLIDAY IT
SERVICES, INC., a California corporation;(ace additional form attached AUG 8 9-2012

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INTERNET BRANDS, INC., a Delaware _  ByT. Rhodes, Deputy
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Wendy B. Giberti; iGeneral Counsel, PC; 9595 Wilshire Blvd, STE 900, Beverly Hills, CA 90212

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NOTICE TO THE PERSON SERVED: Vou are served
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SUM-200(A

 

SHORT TITLE: CASE NUMBER:
|_ Internet Brands, Inc. v. William Ryan Holliday, et al. —

 

 

 

 

INSTRUCTIONS FOR USE

> This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
> If this attachment is used, Insert the following statement In the olaintiff or defendant box on the summons: "Additional Parties
Attachment form is attached,"

List additionai partles (Check only one box. Use a separate page for each type of party.):
(_] Plaintitt Defendant [_] Cross-Complainant ([(_] Cross-Defendant
and JAMES HEILMAN, an individual; and DOES 1-10, inclusive,

 

FO Comat Cate ADDITIONAL PARTIES ATTACHMENT
SUM-2001A) [Rav. January 1, 2007] Attachment to Summons

 

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Wendy Evelyn Giberti (SB
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iGeneral Counsel, P.C,
9505 Wilshire Blvd., STB
Hills, Cs ‘sta.

Beverly

Tel hone: ’

F acsimile: $10 10) 008401 pet
Attorney for Plaintiff INTERNET BRANDS, INC., a Delaware Corporation

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES —- CENTRAL DISTRICT

corporation,
Plaintiff,
v.
WILLIAM RYAN HOLLIDAY, an
Individual; HOLLIDAY IT SERVICES,
INC., a California corporation; and

JAMES HEILMAN, an individual; and
DOES 1-10, inclusive,

Defendants,

Westside Justice

 

COMES NOW Plaintiff, INTERNET BRANDS, INC. (“Internet Brands” or
“Plaintiff”), and for its claims against WILLIAM RYAN HOLLIDAY, an
individual, HOLLIDAY IT SERVICES, INC., a California Corporation, and
JAMES HEILMAN, an individual, (collectively, “Defendants”) hereby alleges as

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follows:

COMPLAINT

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GF ORIGINAL FILED
os Angeles Superior Court

AUG 2 8 2012

By Lanells M. Galindo, Deputy

COMPLAINT FOR:

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2) UNFAIR BUSINESS

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3) UNFAIR BUSINESS
CTICES UNDER
CALIFORNIA BUSINESS
Tee CES ACT, SECTION
0; and

4) CIVIL CONSPIRACY

 

 

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Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 8of64 Page ID #:10

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JURISDICTION AND VENUE

1. This Court has personal jurisdiction over Defendants pursuant to the
California Code of Civil Procedure, Section 410.10, the California State
Constitution, and the United States Constitution, in that Defendants Holliday and
Holliday IT Services, Inc. are residents of the State of California and Defendant
Heilman has purposefully availed himself of commerce in the State of California,
violated a contract entered into in California, and tortuously caused injury within
the State of California.

2. Venue is proper in this Court pursuant to California Code of Civil

10 | Procedure, Section 395, in that Defendants Holliday and Holliday IT Services, Inc.

reside in Los Angeles County and the injury occurred in Los Angeles County.
THE PARTIES

1. Internet Brands is a Delaware corporation having its principal place of
business at 909 Sepulveda Boulevard, 11th Floor, El Segundo, California, 90245.

2. Plaintiff is informed and believes and thereon alleges that Defendant
Holliday IT Services, Inc. is a corporation organized and existing pursuant to the
laws of the State of California, with its principal place of business located at 4247
Neosho Ave., Los Angeles, CA90066-6129.

3. Plaintiff is informed and believes and thereon alleges that Defendant
William Ryan Holliday (“Holiday”) is an individual who resides in Los Angeles
County, State of California.

4. Upon information and belief, Defendant Holliday IT Services, Inc. is
merely the alter-ego of Defendant Holliday and thus liability against Defendant
Holliday and Defendant Holliday IT Services, Inc. should be joint and several,
and this Court may appropriately pierce the improper corporate veil to adjudicate
personal liability against Defendant Holliday.

5. Plaintiff is informed and believes and thereon alleges that Defendant

James Heilman (“Heilman”) is an individual who resides in the province of

COMPLAINT

 

 

 

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Saskatchewan, Canada.
FACTS GIVING RISE TO CLAIMS

6. Internet Brands restates, re-alleges and incorporates paragraphs 1
through 5 as if fully set forth herein.

7. Headquartered in El Segundo, California, Internet Brands is a media
company that operates various websites and also develops and licenses Internet
software and social media applications. Within its Consumer Internet Division,
Internet Brands owns and operates more than 200 websites in nine different
categories, including travel.

8. Within the travel category, Internet Brands owns and operates twenty-
seven different travel related websites, including wikitravel.org (the “Wikitravel
Website”), which it acquired in 2005 for $1,700,000 from Evangelo Prodromou
and Michele Jenkins (the “‘Sellers”).

9, The Wikitravel Website is a website designed and operated to create a
free, complete, up-to-date, and reliable worldwide trave! guide. To date, the
Wikitravel Website has over 62,000 destination guides and other articles written
and edited by travellers from around the globe.

10. In addition to owning the Wikitravel Website, Internet Brands owns
and has the rights to the trademark “WIKITRAVEL” (the “Trademark”), which it
has used consistently and continuously since 2005. Today, Wikitravel is one of the
largest and most popular travel information website in the world, known
worldwide by its tradename.

11. The content on the Wikitravel Website can be created, deleted,
modified, and otherwise edited by anyone, and is done so under a Creative
Commons Attribution - ShareAlike License (the “License”).

12. The License essentially provides that every contributor to the
Wikitravel Website gives the right to anyone else to copy the content, so long as

the copier gives attribution to the original content creator and retains the work and

COMPLAINT

 

 

 

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any derivative works under the same License.

13. Internet Brands employs a strong team of technology, management,
and other business personnel to oversee, operate, and improve the Wikitravel
Website.

14. In addition, Internet Brands relies on its staff and dozens of volunteer
administrators (the ““Administrators”) to protect the quality of the content posted,
to remove spam, and to otherwise oversee the Wikitravel Website.

15. Defendant Holliday was an Administrator on Wikitravel from June
27, 2005 until August 21, 2012.

16. The Wikimedia Foundation is the organization that operates
Wikipedia.org and other “sister projects.”

17, The Wikimedia Foundation has raised tens of millions of dollars,
some of, which it intends to use for the benefit of “sister projects” including other
Wiki sites.

18. Heilman is a Board member of Wikimedia Canada, which is the
thirty-third local chapter of the Wikimedia Foundation.

19. On February 23, 2012, Heilman signed up for an account on
Wikitravel, and, for the first time, posted on that site.

20. Heilman’s February 23 and subsequent posts were not for the benefit
of the Wikitravel users or its broad community, but were specifically for the
benefit of the Wikimedia Foundation. Specifically, he began a course of conduct
intended to usurp the Wikitravel community; these actions included deliberately
misleading statements, and Trademark infringement and violation of Internet
Brands’ intellectual property rights.

21. His plan was simple: create the illusion that Wikitravel Website was
substantially “broken” and that the Wikimedia Foundation, out of generosity and
benevolence, would be “bringing together,” “integrating” or “migrating”
Wikitravel to its control for the benefit and betterment of the Wiki community.

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COMPLAINT

 

 

 
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22. Heilman announced that the “new” site, which would combine the
Wikitravel Website through a straw-man transaction with Wikivoyage.org (the
“Wikivoyage Website”) into a Wikimedia Foundation website that would be _
called “Wiki Travel Guide” (the “Infringing Website”).

23. Inorder to help effectuate this plan, Heilman offered to assist the
formation of the Infringing Website, spearheading and organizing certain planning
and logistics of the infringing activity, and playing a broad and substantive role in
“carrying the water” for the Infringing Website including the infringing acts.

24. Heilman was heavily involved in recruiting the support of others for
various aspects of the development of the Infringing Website, the violation of the
Trademark, and violation of the License.

25. In April, Heilman and Ryan engaged in an email thread with several
others involved in the scheme in which the parties specifically discussed keeping
the matter private for fear that Internet Brands would “get wind of it” and begin
“actively resisting.”

26. OnJuly 12, 2012, Heilman met at the Wikimania convention with a
number of Administrators and others to reach a further meeting of the minds as to
the unlawful acts to be undertaken.

27. On July 14, 2012, more clearly revealing their true intent of
converting the Wikitravel Website to its own project, the Wikimedia Foundation
asked Internet Brands to “donate” the Wikitravel Website, domain name, and the
trademark rights to WIKITRAVEL.

28. When Internet Brands refused, the defendants escalated their efforts to
trade on the Trademark, confuse the marketplace, misrepresent the origin, and
violate the License.

29. For example, on August 18, 2012, Holliday improperly and
wrongfully emailed at least several hundred of Wikitravel members, purporting to
be from Wikitravel and informing members that the Wikitravel Website was

COMPLAINT

 

 

 
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“migrating” to the Wikimedia Foundation. Upon information and belief, the
number emailed is far greater.

30. Specifically, Holliday’s email contained the Subject Line, “Important
information about Wikitravel” and its body stated, “This email is being sent to you
on behalf of the Wikitravel administrators since you bave put some real time and
effort into working on Wikitravel. We wanted to make sure that you are up to
date and in the loop regarding big changes in the community that will affect the
future of your work! As you may already have heard, Wikitravel’s community is
looking to migrate to the Wikimedia Foundation.”

31. Holliday and Heilman clearly intended to confuse Wikitravel Website
participants into thinking the Wikitravel Website is migrating to Wikimedia, in
order to gain, through improper and illegal means, all the traffic and content
creators currently contributing to Wikitravel.

32, Holliday not only violated trademark laws, he violated the
administrative access given to him by Internet Brands by improperly using
personal information stored on Internet Brands’ servers about users and writing to
them by name, in an attempt to bolster the appearance of a direct communication
from the owners of the Wikitravel Website.

33. The defendants pride themselves in operating in a transparent fashion,
when in actuality, the defendants have deliberately misrepresented facts and
conspired with each other and many more to violate several laws in order to gain
personally.

34. Worse still, the creation of “Wiki Travel Guide” has been done
without proper attribution to the original content creators, in clear violation of the
Attribution-Share License and the rights of the original creators.

| 35. The defendants Heilman and Holliday clearly have not acted alone.
Further investigation continues to reveal additional co-conspirators and additional

tortious and improper conduct. Additional defendants and causes of action are

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COMPLAINT

 

 

 

 
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expected through amendment, potentially including other Administrators that have
been most corrupt in this scheme and any entity or individuals that provided them
support or otherwise participated in these wrongful acts. This potentially includes
the Wikimedia Foundation, members of its Board, other individual members of
the Foundation, or anyone else who acted tortiously.
COUNT I
COMMON LAW TRADEMARK INFRINGEMENT

36. Internet Brands re-alleges and incorporates the allegations set forth in
paragraph 1 through 35 herein

37. Internet Brands owns and uses the Wikitravel trademark and enjoys
common law rights to the trademark as set forth above and thus these rights are.
superior and senior to any rights that Defendants or anyone else may claim to the
Trademark.

38. Defendants’ use of the Trademark is intentionally designed to
replicate the Trademark owned by Plaintiff so as to likely cause confusion in the
marketplace as to the source of the Infringing Website, and designed to create the
illusion as to the affiliation with or creation by Internet Brands’ Wikitravel
Website.

39. Defendants’ actions are to the detriment of Plaintiff.

40. Asa result of the infringing acts by Defendants, Plaintiff has been and
continues to be injured and damaged.

COUNT II
FEDERAL UNFAIR COMPETITION, FALSE DESIGNATION OF ORIGIN
AND TRADE NAME INFRINGEMENT
(Lanham Act, §43(a), 15 U.S.C. §1125)

41. Internet Brands re-alleges and incorporates the allegations set forth in

 

paragraph 1 through 40 herein.
42. Defendants’ unauthorized use of a mark confusingly similar to

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COMPLAINT

 

 

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Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 14 o0f64 Page ID #:16

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Internet Brands’ Wikitravel trade name and trademarks for identical and related
products, i.e., an informational travel website, falsely indicates that Defendants’
and their website are connected with, sponsored by, affiliated with or related to
Wikitravel. |

43. Defendants’ unauthorized use of a mark confusingly similar to
Internet Brands’ Wikitravel trade name and trademarks for an identical and related
website is likely to cause confusion, mistake or deception as to the source,
business affiliation, connection or association of Defendants and their website.

44. Defendants’ unauthorized use of a mark confusingly similar to
Internet Brands’ Wikitravel trade name and trademarks for identical and related
website allows Defendants to receive the benefit of Internet Brands’ Wikitravel
goodwill, which Internet Brands has established at great labor and expense, and
further allows Defendants to expand its business, based not on its own qualities,
but on the reputation and goodwill of Internet Brands’ Wikitravel.

45. The acts of Defendants complained of herein constitute unfair
competition, false designation of origin, and trade name infringement in violation
of Section 43(a) of the Lanham Act, 15 U.S.C. §1125(a).

46. Internet Brands is informed and believes and thereon alleges that _
Defendants’ acts complained of herein have been deliberate, willful and
intentional, with full knowledge and in conscious disregard of Internet Brands’
rights in its Wikitravel trademark and with intent to trade off of Internet Brands’
vast goodwill in its mark.

47, As aresult of the foregoing alleged actions of Defendants, Defendants
have been unjustly enriched and Internet Brands has been injured and damaged.

COUNT |
UNFAIR COMPETITION
(Cal. Bus. Prof. Code §17200)

48. Internet Brands re-alleges and incorporates the allegations set forth in

COMPLAINT

 

 

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Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 15 o0f64 Page ID #:17

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paragraph 1 through 47 herein.

49. Defendants are offering Administrators, contributors and other users a
competitive website by trading on Internet Brands’ Wikitravel Trademark.

50. Internet Brands is informed and believes and thereon alleges that
Defendants are profiting, directly or indirectly, through the use of Internet Brands’
Wikitravel Trademark in a deliberate, willful, intentional and wrongful attempt to
trade off of Internet Brands’ goodwill, reputation and financial investment in its
Wikitravel trademark.

51. By reason of the conduct described above, Defendants have engaged
in unlawful, unfair and/or fraudulent business practices, and is in violation of Cal.
Bus. & Prof. Code Section 17200 because it is likely to deceive and mislead the
public.

 

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52. Asa direct result of Defendants’ unfair competition, Defendants have
unlawfully acquired, and continue to acquire on an ongoing basis, an unfair
competitive advantage and have engaged, and continue to engage, in wrongful
business conduct to their advantage and to the detriment of Internet Brands.

53. Asa result of the foregoing alleged actions of Defendants, Defendants
have been unjustly enriched and Internet Brands has been injured and damaged.

COUNT IV
CIVIL CONSPIRACY

54. Internet Brands re-alleges and incorporates the allegations set forth in
paragraph 1 through 53 herein.

55. | Two or more persons, including both Defendants, had an agreement
or meeting of the minds to commit numerous tortious acts.

56. Two or more persons, including both Defendants did in fact commit
numerous tortious acts, as agreed.

57. |The commission of those tortious acts caused Plaintiff injury and

COMPLAINT

 

 

 

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Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 16 of 64 Page ID #:18

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damages.
58. Asaresult, Defendants have been unjustly enriched and Internet
Brands has been injured and damaged.
JURY DEMAND
Plaintiffs request a jury trial on all claims so triable.

PRAYER FOR RELIEF

WHEREFORE, Internet Brands prays that:

1. Judgment be entered for Internet Brands on all claims.

2. Defendants, their agents, servants, employees, attorneys, and all others in
active concert or participation with any of them, be enjoined and restrained
permanently from:

(a) making visible use of the Internet Brands’ Wikitravel mark or any other
mark confusingly similar thereto;

(b) making any other trademark use of Internet Brands’ Wikitravel trade
name or trademark; and

(c) doing any other act or thing likely to confuse, mislead, or deceive others
into believing that Defendants or their affiliates, employers, contractors, or agents
are providing a website service that comes from, is affiliated with, connected with,
sponsored or approved by, or associated with Internet Brands’ Wikitravel Website;

3. Defendants be required to pay:

(a) damages, according to proof at trial;

(b) Internet Brands’ attorneys’ fees and costs of this action, as a result of
Defendants’ willful infringement of Internet Brands’ trademark; and

(c) punitive damages in an amount to be determined at trial as a result of
Defendant’s willful conspiracy to commit unlawful business practices.

4, Any other relief this Court deems just and appropriate.

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COMPLAINT

 

 

 
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DATED: Augusy¥/ 2012

Filed 09/19/12 Page 17 of 64 Page ID #:19

Respectfully submitted,

iGENERALCOUNSEL, P.C.

By: May Shel Me
Wendy Evelyn Gibefti

Attorney for Plaintiff INTERNET
BRANDS, INC., a Delaware
Corporation

 

 

 
Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 18 of 64 Page ID #:20

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ATTORNEY FOR lainuff, Intemet Brands, Inc. G10) 3 AUG 2 8 2012
COURT OF CALIFORNIA, COUNTY OF Los Angeles
street pormas §25 Maple Avo. Jothn A. Clarke, Executive Officer/Clerk
MALING ADORESR: .
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Torrance, EA 50503, By Lanello M. Galindo, Deputy
CASE NAME:
Internet Brands, Inc. y. William Ryan Holliday, ct al.
CIVIL CASE COVER SHEET Co CASE NUMBER:
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rn _ exceeds $26,000) $25,000 or less) (Cal. Rules of Court rule 3.402) cerr:
hems 16 below must be fad (sae instructions on
> 1. Check one box below for the case type that best describes thie case:
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igoWrongtal Death) Tort Ineattance coverage (18) Maas tent (40)
Astastoa (C4) Other contract (37) Securfies Mtigation (28)
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Business tortuntele tusineos proctos (07) Other real property (28) Enforcomont of Judgment
CNA righta 5) Unlawfal Detciner Enferoament of judgment (20)
Defamation (13) Commercial (31) Miscellaneous Civil Compiaint
Freud (16) Residential (32) (J ricogn
intellectual property (19) Orugs 38) Other complaint (not specified above) (42)
Professions! nagtigence (25) pie ecus Civil Petition
Other non-PLPOWD tort (24) forfeiture (03
yment Petition ra: arbitration pword (11) J Ones patho n ft eoaton stove qeoy
Wrongful termination (36) Veiit of mandala (02)
Cher om (18) Other judicial review

 

 

 

2. This case is
factors requiring exceptional judicial
a. [_] Large number cf separetely represented parties 4.)
b. (1) Extensive motion practice raising dificut ornovel aL _]
iseues that wil be time-consuming to resoive
c. [7] Substantal amount of documentary avidence f,

isnot complex under nie 3.400 of the Califomia Rules of Court. if the case Is complex, mark the
management,

Large number of witnesses

Coordination with related actions pending in one or more courts
In ather counties, states, or countries, or in a federa! court
Substantial postjudgmant Judicial supervision

8. Remedies sought (check ail that apply): a[ 7] monetary ».((—] normonetary: dectaratory or injunctive relief. [Y] punitive

4. Number of causes of action (spacity}:
6. Thiecase [ts [7 ]isnot acieaa action suit

8. if there are any known related cases, file and serve a notice of related case, (Yor

Date: August 24, 2012
Wead: E Gilbert

 

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other parties to tne action or proceoding.

 

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in sanctions.
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Unless this is a collections cese under rule 3.740 or a complex case, this cover shest will be used for statistical purposes
CIVIL CASE COVER SHEET

     
   
 
   

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(CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

CIVIL CASE COVER SHEET ADDENDUM AND

STATEMENT OF LOCATION

 

 

 

This form is required pursuant to Local Rute 2.0 in all new olvil case filings in the Los Angeles Superior Court,

 

 

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in

tem I. Check the types of hearing and fil! in the estimated length of hearing expacted for th’s case:

SURY TRIAL? 71 YES class acion? C_] YES LIMITED CASE? Cyes TIME ESTIMATED FOR TRIAL §__(C] Koursy 7] pays
Item I. Indleste the correct district and courthouse location (4 steps —-If you checked ‘Linited Case’, skip to tiem Il, Pg. 4)

Step 4: After first completing the Civ? Case Cover Sheat form, find the main Civil Case Cover Sheet heading for your
case In the left margin below, and, to the right in Column A, the Civil Case Cover Sheet case type you selected.

Step 2: Check one Superior Court type of action In Column B below which best describes the nature of this case.

Step 3: in Column C, circle the reagon for the court locatian choice that applies to the type of action you have

checked. For any exception to the court location, see Local Rule 2.0.

:

Other Personal injury’ Property
Damege! Wrongful Death Tort

 

 

Applicable Reasons for Choosing Courthouse Location (see Column C below}

 

 

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Product Liabilly (24) © AT260 Product Liablity (not esbestos or toxic/environmantal) 1a Quy Bey ay B
 A7210 Medical Malpractice - Physicians & Surgecns tad.
vat Malpractice (45) | A72A0 Other Professional Health Care Maipractics 1.,4.
C) A7280 Premises Liabiltty (6.¢., ait and fall) 4
Othar CQ A7230 Intentional Boul Irfuxy/Proparty Damage/Nrengtul Death fa.g.,
propeny Denene assem, vandalism, etc.) re
Wronge Death C AT270 intentional Inffction of Emotional Distrasa ‘.
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CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.0
' AND STATEMENT OF LOCATION Page 1 of 4

 

 

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Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 20 of 64 Page ID #:22
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SHORT TITLE: CASE NUNS
intemet Brands, Inc. v. Willlam Ryan Holliday, et al. “
| /: CM Case Gover Sheet «-] °. * - Type ofActon: =. - . '| Applicable Reasons -
“"* Category Na. oy ._ (Check only one) _ [{ See Step'3 Above -
Business Tort (67) @ AG029 Other Commercia/Business Tort (not fraudibreach of contrac) 4)
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2 Chil Rights (08) C A8008 Chil Rights/Discrimmnation 1,243
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i professionel Negigence (25), © A017 Lege! Malpractice 2.3.
& O A6080 Olher Professional Malpractice (not medical or legal) 1,2, 3.
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’ Other (35) 1 A6026 Other Non-Personal InjusyiProperty Oamage tort 2.3.
i Wrongful Termination 36) | £1 AGO37 Wrongful Termination 4.,2,3.
QO As024 Other Employment Compieini Case 1, 2., 3.
E t (1
é Other Employment (16) 1) A810 Labor Commisstoner Appeals 10,
G3 A68004 Breach of Rental/Lease Contract (nol unlawful detainer or wrong 2,5.
eviction) ‘
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(not insurance) () A6019 Negilgent Breach of ContracyWarranty (no fraud) In 2, 6
1) AG028 Other Breach of ContactWarranly (not fraud or negligence) 4,2, 3
i 1 A8002 Collections Case-Salter Plainttt 2,8. 8.
Collections (09)
8 OQ AG012 Cther Promissory Nete/Collections Case 2,6.
insurance Coverage (18) © A8018 Insurance Coverage (not complex} 1.2, 6, 8.
CO A8009 Contractual Fraud 1.2, 3.. 5.
Other Contract (37) O A8031 Torttous Inlerference 4.,2.,3.,5.
O A6027 Other Contract Dispute(net breachinsurance/fraud/negigence) 1., 2, 3., 8

Eminent Domaninverse C1 A7300 Eminent Domain/Condemnation Number of parcats___ 2.

 

 

 

 

 

 

 

 

 

 

 

Condemnation (14)
a Wrongful Eviction (23) ° | C1) A6023 Wrongful Eviction Case 2,6.
3 1 A018 Mortgage Foreclosure 2,, 6.
e Other Reai Property (28) O AG6032 Quiet Title 2,6.
O A8060 Other Real Property (not eminent demain, landiordRenant, fereciosure) | 2,, 6.
3 Uniawtul “oe Q A8021 Untewtul Oatainer-Commeretal (not drugs or wrongful eviction) 2,6,
3 Untawhul Pee) eeentit  AG020 Unlawful Detainer-Residential (not drugs or wrongful eviction) 2,8.
Unlawful Detalner-
i Post-Forectosure (34) O} A&8020F Uniawful Datainer-Post-Fereciesure 2.,8
= Unlawful Detalner-Drugs 8) | AG022 Unlawful Detainer-Drugs 2.,8.
LAGIV 109 (Rev. 03/11) CIVIL CASE COVER SHEET ADDENDUM Local Rute 2.0
LASC Approved 03-04 AND STATEMENT OF LOCATION Page 2 of 4

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Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 21 0f64 Page ID #:23

 

SHORT

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Judicial Review

Provisionally Complex Litigation

Miscellaneous Enforcement
Civil Complaints of Judgment

 

 

 

 

 

 

 

 

 

 

 

 

 

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Asset Forfeure (05) | A@108 Asset Forfelture Case 2., 6.
Patten re Arbitration (11) C] A6118§ Fellion to Compel/Confinn/Vacate Arbitration 2.,
QO A6161 Writ - Administrative Mandamus 2., 8,
Wait of Mandate (02) O A6162 Writ - Mandamus en Limited Court Case Matter 2.
QO A8153 Wra - Other Limited Court Case Review 2.
Other Judicial Review (39) O A6160 Other Wril /Judicial Review 2., 8,
AntitrustT rade Regulation (03) |G A603 Antitrust/Trade Regulation
Construction Dafect (10) CO) A6007 Construction Defect 1.2.3.
Claims wea Mess Tort 1) asoos Claims involving Mass Tort 4.248
Securities Litigation (28) O A8036 Securities Litigation Case 1. 2., 8.
Toxic Tort
Environmental (30) GO A036 Toxle TortEnvironmenial 1,2. 3, 8,
Insurance Coverage Claims Coverage/Subroga
from Complex Case (41) Gl A6014 Insurance tion (complex case only) 1,2, 5, 8
© A6141 Sister State Judgment 2.9.
O A6i60 Absiract of Judgment 2., 8.
Enfoscemert OO) A6107 Confession of Judgmant (non-domestic zeiations) 2,9
of Judgment (20) © A8140 Adminitrative Agency Award (not unpaid taxes) 2.8
1) A8114 Pollion/Certificate for Entry of Judgment on Unpaid Tax 2,8.
O A6112 Other Enforcement of Judgment Caso 2., 8. 9,
RICO (27) ©) A8033 Racketesring (RICO) Case 1.2, 8
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Other Complaints Qi A6040 Irjunctive Relief Only (net comesticnarassment) 2,8.
(Not Spectfied Abave) (42) | (7 AG014 Other Commercial Complaint Case (non-lort/non-cemplex) 12,8

C) A600 Other Cli Complaint (non-tortnan-compiex) 1,28
Partnership Corporation .
Governance (21) O A6113 Partnership and Corporate Governance Case 2., 8.

 

 

 

 

 

 

 

C) A8121 Givi Harassment 2,3, 9
‘ gz O A6123 Workplace Harassment 2,3, 9
Fd Other Pettions C1 A6124 ElderDependent Adult Abuse Case 2,3.,9,
i 3 (Not Specified Above) | 2. A8190 Election Contest 2
° 43) © AG#10 Petition for Change of Name 2,7.
© A8170 Petition for Reltef from Late Claim Law Qu Bn du 8,
© A6100 Other Civil Patition 2.9.
LACIV 108 (Rev. 03/14) CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.0
AND STATEMENT OF LOCATION Page 3 of 4

LASC Approved 03-04

 

 

 

 
Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 22 of 64 Page ID #:24

 

 

SHORT TITLE:

* Intemet Brands, Inc. v. Willam Ryan Holliday, et al.

 

 

 

Item Ill. Statement of Location: Enter the address of the accident, party's residence or place of business, performance, or other
circumstance indicated in Item il., Step 3 on Page 4, as the proper reason for fillng in the court location you selected.

 

REASON: Check the appropriate boxes for the numbers shown =| 909 N, Sepulveda Blvd., 11th Floor
under Column C for the type of action that you have selected for *” ne
this case. .

O71. 02. 43. 04. Os. 06.07. 08. 09. 0110.

ADDRESS:

 

 

ary:

 

El Segundo CA 90245

STATE: P CODE:

 

 

 

 

Item IV. Declaration of Assignment: | declare under penaity of perjury under the laws of the Stete of California that the foregoing is true

and correct and that the above-entitied matter Is property filed fer assignment to the Torrance courthouse In the
‘Southwest _______ District of the Superior Court of California, County of Los Angeles [Code Clv. Proc., § 392 et seq., and Local

Rule 2.0, subds. (b), (c) and (d)).

Dated: Auauet 24,2012

 

PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
COMMENCE YOUR NEW COURT CASE:

1.

2.
3.
4

Original Complaint or Petition.

If filing a Complaint, a completed Summons form for Issuance by the Clerk.

Civil Case Cover Sheet, Judicial Council form CM-010.

Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.

* 03/14),

Payment In full of the filing fee, unless. fees have been walved.

8. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a

minor under 18 years of age will be required by Court in order to issue a summons.

Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
must be served along with the summons and complaint, or other initiating pleading in the case.

 

LACIV 109 (Rev. 08/11) CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.0
LASC Approved 03-04 AND STATEMENT OF LOCATION Page 4 of 4

 

 

 

 
Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 23 0f 64 Page ID #:25

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SUPERIOR COURT OF CALIFORNIA
COUNTY OF LOS ANGELES “oe Angelos Superior

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| __- NOTICE OF CAS@ MANAGEMENT CONFERENCE
TO THE PLAI FFASYATTORN (8) FOR PLAINTIFF(S) OF RECORD:

You are erdered to serve this notice of hearing on ail part of record forthwith, and meat and cenfer with a2
pastias/attomeys of record about the matters ta be discussed no Istar than 30 days before the Case Management Conference,

Your Cate Management Conference has been scheduled at the counhouse address shawn above ort

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‘NOTICE TO OEFENDANT: - THE SETTING OF THE CASH MANAGEMENT CONFERENCE DOES NOT EXEMPT THE
; DEFENDANT FROM FILING A RESPONSIVE PLEADING AS REQUIRED BY LAW.

CHET IO} muss be heed ane Gout, Tee 3.7203.730, 4 complelnd Case Management Statement (Jnl Counel Kim #

may ba tad ity Bag cas! 15 calendar days pret 19 the Case Managemant Canterance. The Case Manegervart Slecmere

Cae org Oe ihe ae, ot partioatatimeys'of record or ifchictally by each party/attomey cf record. You must be tartar agree
case and be fully prepared to participate effectively in the Case Managemant Conference.

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establishing 8 discovery schedule; an rier referring tha case io Alemative Dispute Resolution (AOR), an onder ractassifying ihe
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. Reduction Act (Gev. Code, § 68600 et sa) ; :

Notce s hareby given tna # you da nt he he Case Management Statement of anpeas and attectvely partipate ot ine Casa
Management Conference, the Court may impose sanctions, pursuant to LASG Local Rule 7.13, Code of Clvi Procedure

sections 177 5, $75.2, 583.180, $83.360 and 283.410, Goverment Cede saction 68608, subdivisian (0), and Califomia Rules of
Court, rule 2.2 et seq. . ss

“e° ° - . Ee
owe O20 “STUART M. RIC

_ Judicial Officar ,
.- CERTIFICATE OF SERVICE

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JOHN A. CLARKE, Executive/Officer Clark

“Dated: : %-30- “0 - By

    

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_ LACIV $32 (Aten. oper) NOTICE OF - Cal Rises of Coun, nas 9.720-3.730
_ LASC Approves 10-09 _ CASE MANAGEMENT CONFERENCE LASE Local Rules, Chapter Seven

 

 
Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 24 of 64 Page ID #:26

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VOLUNTARY EFFICIENT LITIGATION STIPULATIONS

 

The. Early Organizational- Meeting Stipulation, Discovery
yy Resolution’ Stipulation, and Motions in Limine Stipulation are
Superior Court of Culfornia voluntary stipulations entered Into by the parties. The parties °
may enter Into one, two, or all three of the stipulations;
however, they may not alter the stipulations as en,
because the Court wants to ensure uniformity of application.
These stipulations are meant to encourage cooperation
between the parties and to assist in resolving Issues in a
manner that promotes economic case resolution and judicial
efficiency.

 

 

The following organizations endorse ‘the - goal of
Association cf L.cs Angeles promoting efficiency In litigation and ask that ‘counsel
consider. using these stipulations as a voluntary way fo
promote communications and procedures among counsel
and with the court to fairly resolve issues in thelr cases.

 

@Los Angeles County Bar Association Litigation Section@

Gallfarnia
Defensa Counsaj

@ Los Angeles County Bar Association
Labor and Employment Law Section@

 

anne ,
‘Business Tita Lawyore Consumer Attorneys Association of Los Angeles@

@Southern Califomia Defense Counsel¢

Association of Business Trial Lawyers@

 

 

California Employment Lawyers Association®

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Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 25 o0f64 Page ID #:27

 

 

 

 

 

 

 

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_ _ SUPERIOR hae OF CALIFORNIA, COUNTY OF LOS ANGELES |
ANT :
: . ae DANT:
STIPULATION = EARLY ORGANIZATIONAL MEETING

 

 

 

 

This stiputation Is Intehded to encourage cooperation among the parties at an early stage In
the litigation and to assist the parties In officlent case resolution. . on

The parties agree that:

1. The pariles commit to conduct an Initial conference (in-person of via teleconference or via
videoconference) within 15 days from the date this stipulation Is signed, to discuss and consider

?

whether there canbe agreement on the following:

a. Are motions. to challenge. the pleadings necessary? if the Issue can be resolved by

amendment as of right, or if. the. Court would. allow feave to amend, could an amended

complaint resolve most or ail of the Issues a demurrer might otherwise raise? If so, the parties

- agree to work through pleading Issues so that a demurrer need only raise issues they cannot

’ regeive. Is the Issue that the defendant secks to raise amenable to resolution on demurrer, or

Guid some other type of motion be. preferable? _ Could'a voluntary targeted exchange of
documents or information by any party cure an uncertainty In the pleadings? .

b, Initial mutual exchanges of. documents at the “core" of the litigation. (For example, In an
‘employment case, the employment records, personnel file and documents relating to the
conduct In question could be considered “core.” In a personal injury case, an Incident or
police report, medical records, and repair or maintenance records could be considered
“core.); . .

¢, Exchange of names and contact Informatio of witnesses;

d, Any Insurance agreement that may be available to satisfy part or alt of a judgment, or to
__ indemnify or relmburse.for payments made to satisfy e Judgment;

e. Exchange of any other Information that might be helpful to facilitate understanding, handling,
or resolution of the case In a manner that preserves objections or privileges by agreement:

f. Controtling- Issues of law that, If resolved early, will promote efficiency and economy in other
phases of the case. Also, when and how such Issues can be presented to the Court;

g. ‘Whether or when the case should be scheduled with a settfemant officer, what discovery or
court.rufing on legal Issues Is reasonably required to make settlement discussions meaningful,
and whether the parties wish fo use a: sitting judge or a private mediator or other options as.

Terabe STIPULATION ~ BARLY ORGANIZATIONAL MEETING page a2

 

 

 
Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 26 of 64 Page ID #:28

 

 

 

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E-MAIL ADORESS {Or ; os ; . (

    

 

7 CALIFORNIA, COUNTY OF LOS ANGELES

 

 

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“STIPULATION ~ DISCOVERY RESOLUTION |

 

This. stipulation is intended to provide a fast and Informal resolution of discovery issues
through limited" paperwork and an Informal conference with the Court to ald in. the
resolution of thé issues. oo

The parties agree that: -
1. Priof to the ‘discovery cut-off In this action, na discovery motion shall be filed or heard unless. .
a me meving party first makes a written request for an Informal Discovery Conference pursuant
totfie'tirms ofthis stipulation, ae
2. Atthe Informal, Discovery Conference the Court will consider the dispute presented by parties
., atid determine whether it can‘be resolved Informally. Nothing set forth herein will prectude a
. party: from making a record at the conclusion of an informal Discovery Conférence, either
orally or In writing. . 7 oO , ‘
gl Following ‘a réasonable and good faith attempt at an informal resolution of each Issue to be
. presented, a party may request an Informal Discovery Conference pursuant to the following
' procedures; . - oe :
a. The party requesting the informal Discovery Conference will
“File @ Request for Informal Discovery Coriference with the clerk's office on the
‘approved form (copy attached) and deliver a courtesy, conformed copy to the
assigned department; oo
“Ik Include a brlef summary of the dispute and specify the: relief requested; and
il. Serve the opposing party pursuant to.any authorized or agreed method of service
that ensures that the opposing party receives ‘the Request for Informal Discovery
Conference no later than the next court day following the filing. .
b. Any Answer toa Request for Informal Discovery Conference mtist!:
i. - Also be filed on the approved form (copy attached);
.l, Include a brief summary of why the requested rellef should be denied;

an eee 1 STIPULATION ~ DISCOVERY RESOLUTION Pago 1of3

 

 

 
Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 27 of 64 Page ID #:29

 

 

 

 

 

08/20/2012 11:18 FAX $106453379 Westside Justice — 001070015
SHORT seu: CASS MUNSER:
The following parties stipulate:
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ASC Apruetoast «STIPULATION ~ DISCOVERY RESOLUTION Page 2 ofS

 

 
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Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 28 of 64 Page ID #:30

 

 

 

 

 

 

 

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. ema TELEPHONE NO . PAXNO. (Optional
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
. STIPULATION AND ORDER — MOTIONS IN LIMINE 7

 

 

 

 

This stipulation Is Intended to provide fast and Informal resolution of evidentiary
‘ issues through diligent efforts to define and discuss such issues and limit paperwork.

- The parties agree that:

1. At least days before the final status conference, each party will provide all other

parties. With a list containing a one paragraph explanation of each preposed motion in

‘limine, Each one paragraph explanation must identify the substance of a single proposed
mation In timine and the grounds for-the proposed motion.

2. The parties thereafter will meet and confer, elther in person or via teleconference or
videoconference, conceming all proposéd motions in Iimine. In that meet and confer, the
parties will determine: 0 ml,

' a. Whettier the partles can stipulate to any of the proposed motions. If the parties so
stipulate, they may file a stipulation and proposed order with the Court.

b. Whether any of the proposed motions can be briefed and submitted by means of a
short joint statement of Issues. For each motion which can: be addressed by a short
Joint statement of Issues, a short joint statement of Issues must be filed with the Court

_ 10 days prior to the final status conference. Each side's portion of the short joint

- statement-of Issues may not exceed three pages. The parties will meet and confer to
agree on a date and manner for exchanging the parties’ respective portions of the
short joint statement of issues and the process for fillng the short joint statement of
Issues, - ,

3. Ail proposed motions jin limine that are not either the subject of a. stipulation or briefed via
a short joint statement of Issues will be briefed: and filed in accordance with the California
‘Ruies of Caurt and the Los Angeles Superior Court Ruies.

 

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Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 29 of 64 Page ID #:31

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SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
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INFORMAL DISCOVERY CONFERENCE CRE NTETE
nt to the Discovery Resolution Stipulation of the parties) ‘
1. This document relates to:
- Request for informal Discovery Conference
Answer to Request for informal Discovery Conference
_2. Deadline for Court to decide on Request: : (insert data 40 calendar days following filing of

the Request).

3. Deadline for Court to hold Informal Discovery Conference: {Insert date 20 calendar
days folowing fling ofthe Request, = ooo .

4. For a Requost for Informal ‘Discovery Conference, briefly describe tha nature of the
discovery dispute, Including the facts and: lagal. arguments. at Issue. For an Answer to
Request for Informal Discovery Conference, briefly describe why the Court should deny
the requested discovery, Including the facts and legal arguments at Issue.

 

 

 

 

 

 

"2 TREN oea Rew) INFORMAL DISCOVERY CONFERENCE
LASC Approved 04/11 (pursuant to the Discovery Resolution Stipulation of the parties)

 

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Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 30 of 64 Page ID #:32

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SUPERIOR COURT OF CALIFORNIA, COUNTY QF LOS ANGELES

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2. Deadline for Court to decide on Request: (insert date 10 calendar days following fling of

3. Deadiine for Court to hold Informal Discovery Conference: (Insert date 20 calender
daya following filing of tha Request).

4, For a Request for Informal Discovery Conference, briefly describe the nature of the
discovery dispute, Including the facts and legal arguments at Issue. For an Answer to
Request for Informal: Discovery Conference, briefly describe why the Court should deny
the requested discovery, Including the facts and legal arguments at {ssue.

 

 

 

 

 

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LASG Approved 04/11 (pursuant to the Discovery Resolution Stpulation of the parties)

 

 
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2.
The following parties stipulate:
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Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 32 of 64 Page ID #:34

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SUPERIOR COURT OF- CALIFORNIA, COUNTY, OF LOS ANGELES
aaa TRC SZ Homaton to a ee oN PACKAGE |
. -. n ute Reso! -
For additional ADR information and forms visit the Court ADR web application at qunideerexlorcourtors (dick on ADR), -

The plaintiff shall earve a copy of tis Information Package on éach deferident along with the.ositplaint (Clvil only)
Ce AOR te Resobiton - ee

rantive Dispute jan (ADR) Is the term used to describe al the other options available for setting @ dispute which had to
be settiad in court, ADR processes, such as arbitration, mediation, neutral evaluation (NE), and getilament conferences, are eos formal
than a cqurt process and provide opportunities for parties to reach an agreement using a problem-solving approach. -

‘There are many fare kines of ADR All of them utilize a ‘neutral’, an Impertial person, to decide the case or help the parties reach an

Medlatians ce
In mectation, a neutral perecn called a “mediator” helps tha parties try to reach a mufually acceplable resolution of the dispute. The
medlator'does not dacide the dispute but helps the parties communicate eo they can to setila the dispute themselves. Mediation
control of the outcome with the parties... ipa the they can try , Medion leaves
_Oases for Which Mediation May Be Appropriate .
Mediation may be particularly useful when parties have a dlapute between of among family members, neighbors, -or business
partners, Mediation Is alao effective when emotions are getting In the way of tesolution, An effective mediator cari hear the
parties cut snd help them communicate with each ather If!-an effective ‘and nondestructive manner.

Cases for Which Madiation May Not Be Appropriate
HF ore of tha parties has a significant advantage in pawer over the cther, Therefore, it may not be a gocd choice if the parties
have a hlstery of abuse or victimization. ; . ‘

Arbitration: . . .

an) py that nerd anh an “arbitrates* hears arguments and evidence from each side and then decides tha outcome of the
dispute, fon is less formal then a tral, and the rules of evidence are often relaxed. Arbitration may be elther "binding" or

“nonbinding.” Biiding-arbfration meane that the parties waive thelr right toa tel and agree to accapt the arbitnator's decision es final.

Nonbinding arbitration msans that the parties are free to request a trial Hf they do not aceapt the asbiutoi’s décision,

Cates for Which Arbitration May Bé Appropriate ee

Arbitration 4s best for,cases where.the parties want another berect to’ decide the outcome of their dispute for them but Would like [|
"ta avoid the formality, time, and expense of a bral. tt may alao be appropriate for complex matters where the parties wanta
dedislen-maker who haa training. or experience in the subject matter of the dispute. ‘

Cases for Which Arbitration May Not Be Appropriate |
if partes want to retain control over how thelr diapute ig résclved, arbitration, parti¢ilary binding arbitration; is nat appropriate. In
binding arbitration, the parties generally cannot appaal.the ‘atbitrator's award, even if it Is not supported by the evidence or the

Jaw, Even in nonbinding arbitration, if a party requests a tial and dogs not recalve a more favorabla resuit at tral than in

atbitration, there may be penalties: ‘ - .

In neutral evabiaiton, each, party gets a chance to present thé casa to a neutral person called an “evaluator.” The evaluator then gives an.

opinion the strength and weaktiaases of each paris evidence ar! arguménis and about how fe depute cauld be feeolved, The

evaluator ta ofteri an expert inthe subject matter tha'dispute. Althaugh the evaluators opinion Is not binding, the parties typicatly use Il

as a basis for tryingto regotate @ resolution of thé dispute. Lo Pott. :
Cases for Which Neutral Evaluation May Be Appropriate. - ; eo .

Neutral evalyation may be méat appropiate ih cases.in which there are technical issues that requira special expertise to resolve

or the only significant ingue in thé case ia tha dmount of damages, . 7 oo

Cases far Which Neutral Evatidstion tay Kat Be Aapropeate oe ot
Neutral evaluation may not be apprepriais when there afe significant personal or emotional barriers to resclving the dispute.

Soffientaht cdnfarances may be ailher mandatory o voluntary, tn both types of aettisment conferences, the parties and thelr atiomeys _
meet with a judge or a ndutrel pereon calied's “settlement officer” to discuss possible cettlemant of thelr dispute. The judge or seitiement
.| Officer dces not make a decision [n the case but assists the parties In evaluating the strerigths and weaknesses of the case and In

" negotiating a satiiament. Setiierient conferences are appiopriata in ary case where settlements an cpiion, Mandatory settlement

,| conferences are oftan held. close to the date a cuss la set for trial.

_—, ~ RADA ODS (Rev.22-08) *~ Picea ee m . lee ete eee ae ~-Page Lata

 

 

 

 

 

 
Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 33 of 64 Page ID #:35

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Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 34 o0f64 Page ID #:36

— INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES yg

ASEEUCATION
The Geapter Three Rules were effective January 1, 1994, They apply to all general civil cases.
PRIORITY OVER OTHER RULE |

Ths Gapter Thres Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE

Ths fillowing critical provisions of the Chapter Three Rules, as applicable in the Central District, are summarized for your assistance.

A challenge under Code of Civil Procedure section 170.6 must be made within 15 days after notice of assignment for all purposes to
ajudg, orifa party bas not yet appeared, within 15 days of the first appearance. .

 

Casesissigned to the Individual Calendaring Court will be subject to processing under the following time standards:
COMPLAINTS: Alt complaints shall bs served within 60 days of filing and proof of service shall be filed within 90 days of filing.

CROSS-COMPLAINTS: Without leave of court first being obtained, no cross-complaint may be filed by any party after their
answer is filed. Cross-complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the

A Stains Conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully propared to discuss the following issues: alternative dispute resolution, bifurcation, settlement, ‘
trial dete, and expert witnesses. " :

» HENAL STATUS CONFERENCE

The Court will require the parties at a status conference not more than 10 days before the trial to have timely filed and served all
motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested jury instructions, and
special Jury instructions and special jury verdicts, These matters may be heard and resolved at this conference. At least 5 days
before this conference, counsel must also have exchanged lists of exhibits and witnesses and have submitted to the court a brief
statement of the casé to be read to the jury panel as required by Chapter Eight of the Los Angeles Superior Court Rules,

SANCTIONS

The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the Court,
id time standards or deadlines established by the Court or by the Chapter Three Rules, Such sanctions may be on a party or if
appropriate on counsel for the party. .

This is not a complete delineation of the Chapter Three Rules, and adherence only to the above provisions is therefore
not @ guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is absolutely imperative. a me

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LASC Approved 05-06

LACIV CCH 190 (Rev. 01/12) NOTICE OF CASE ASSIGNMENT ~ | Page 2 of 2 |
For Opticnal Use UNLIMITED CIVIL CASE
Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 35 o0f64 Page ID #:37

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BY FAX

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SUMMONS

FOR GOURT URE ONLY
| (CITACION JUDICIAL) CONFORMED cory
NOTICE TO DEFENDANT: o OF ORIGINAL FILED
(AVISO Al. DEMANDADO}: . _ ,  LesAngetes Sopertor Court
WILLIAM RYAN HOLLIDAY, an Individual; HOLLIDAY IT
SERVICES, INC., a California corporation;{sec additional form attached AUG 8 8-2012
“YOU ARE BEING SUED BY PLAINTIFF: John A. Clarke, Bxecuti
(LO ESTA DEMANDANDO EL DEMANDANTE): "2 OfficorCler
INTERNET BRANDS, INC., a Delaware __ ByT. Rhodes, Deputy
corporation, ,

 

youTespond with 30 days: Read the tnfermation
You hava 30 GALENDAR DAYS afiar this sumone and legal papers a acived on you to Sa a writen apenas at this court end have a copy

| case. There may &e a cout form that you can usa for response, You can find theee court forms and more information at tha

Onine Selftisis Center (www. ’ ), your counly law Ifhrary, or the courthouse nearest you. if you cannot pay the fifng foe, ask
the court clatk for a toe wolver form, W you do net fle your response én time, you may lose the cxse by daftull, end your wages, money, end property
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(new. courtinin.ca.gowtsalthelp) of by contacting your iocal court of coonty bar sesociation. NOTE: The cout has 9 statutory fen for waved fees end
costs on any cettiement or arbiizstion award of $10,000 ¢x more in a civil cess. The couwf's len must be paid before the court wil dlemiss tw case.
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Wendy E. Giberti; iGeneral Counsel, PC; 9595 Wilshire Blvd, STE 900, Beverly Hills, CA 90212

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al formulario Proof of Service of Summons, (POS-010)).
NOTICE TO THE PERSON SERVED: You are served

Ben} 1° ] as en individual defencant.

2. [J a8 the person aued under the fictitious name of (epecty):

 

9, CZ] on behalf ot (spect: Holliday IT Services, Inc., a California corporation

 

 

 

 

under: [353 CCP 416.10 (corporation) COP 416.60 (minor)
[J CCR 418.20 (defunet corporation) COP 418.70 (conservates)
[[~] CCP 416.40 (association or partnership) [—_} CCP 416.80 (authorized person)
(A) other (epeciy):
- ‘4. ([7} by personal delivery on (ciate):
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Torrance Coprthouse }
825 Maple Ave., Torrance, CA 90503 ,

(Adjunto)

 

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Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 36 of 64 Page ID #:38

SUM-200(A)

 

SHORT TITLE: CASE NUMBER:
|. Internet Brands, Inc. v. William Ryan Holliday, et al.

 

 

 

 

INSTRUCTIONS FOR USE

+> This form may be used as an attachment to any summons if space dogs not permit the listing of all parties on the summons.
> If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
Attachment form ts attached."

List additional parties (Check only ane box. Use a separate page for each type of party,):
[_] Praintitt Defendant [] Cross-Compiainant [7] Cross-Defendant
and JAMES HEILMAN, an individual; and DOES 1-10, inclusive,

 

Fe tue ADDITIONAL PARTIES ATTACHMENT
SUM-200(A} (Rev. January 1, 2007) Attachment to Summons

 

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Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 37 of 64 Page ID #:39

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Wendy Evelyn Giberti (SBN-265%
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wen .
9395 Wilshire Blvd. STH\S00,_ ee east Rrcnutive OfB eal
Beverly ly Hills CA sis yd
Telephone: g 10) 300-4083 _ oO By Laneils M. Galindo, Deputy
Facsimile: (310) 500 Baa per’
Attorney for Plaintiff INTERNET BRANDS, INC., a Delaware Corporation
SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES — CENTRAL DISTRICT
INTERNET BRANDS, INC., a Delaware ) Case No. Y C06770 6
corporation,
_ COMPLAINT FOR:
Plaintiff, .
v. 1) TRADEMARK
INFRINGENEE RS:
WILLIAM RYAN HOLLIDAY, an
Re Chisum neat SERVICES, Pe ‘AIR BUSINESS W
ifornia corporation; and RACTICES SUNDER THE ““
HEILMAN, an individual; and n
JAMES 1-10, inclusive,
ATR BUSINESS &
PRactons UNDER
Defendants. CALIFORNIA BUSINESS
PRACTICES ACT, SECTION
17200; and
4) CIVIL CONSPIRACY

 

COMES NOW Plaintiff, INTERNET BRANDS, INC. (“Internet Brands” or
“Plaintiff”), and for its claims against WILLIAM RYAN HOLLIDAY, an
individual, HOLLIDAY IT SERVICES, INC., a California Corporation, and
JAMES HEILMAN, an individual, (collectively, Defendants") hereby alleges as
follows: Se

COMPLAINT

 

 

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Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 38 of 64 Page ID #:40

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| JURISDICTION AND VENUE

1. This Court has personal jurisdiction over Defendants pursuant to the
California Code of Civil Procedure, Section 410.10, the California State
Constitution, and the United States Constitution, in that Defendants Holliday and
Holliday IT Services, Inc. are residents of the State of California and Defendant
Heilman has purposefully availed himself of commerce in the State of California,

 

violated a contract entered into in California, and tortuously caused injury within
the State of California.

2. Venue is proper in this Court pursuant to California Code of Civil
Procedure, Section 395, in that Defendants Holliday and Holliday IT Services, Inc.
reside in Los Angeles County and the injury occurred in Los Angeles County.

THE PARTIES

1. _ Internet Brands is a Delaware corporation having its principal place of
business at 909 Sepulveda Boulevard, 11th Floor, El Segundo, California, 90245.

2. Plaintiff is informed and believes and thereon alleges that Defendant
Holliday IT Services, Inc. is a corporation organized and existing pursuant to the
laws of the State of California, with its principal place of business located at 4247
Neosho Ave., Los Angeles, CA90066-6129.

3. Plaintiff is informed and believes and thereon alleges that Defendant
William Ryan Holliday (“Holiday”) is an individual who resides in Los Angeles
County, State of California.

4. Upon information and belief, Defendant Holliday IT Services, Inc. is
merely the alter-ego of Defendant Holliday and thus liability against Defendant
Holliday and Defendant Holliday IT Services, Inc. should be joint and several,
and this Court may appropriately pierce the improper corporate veil to adjudicate
personal liability against Defendant Holliday.

5. Plaintiff is informed and believes and thereon alleges that Defendant
James Heilman (“Heilman”) is an individual who resides in the province of

 

COMPLAINT

 

 

 
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Saskatchewan, Canada.
FACTS GIVING RISE TO CLAIMS

6. Internet Brands restates, re-alleges and incorporates paragraphs 1
through 5 as if fully set forth herein.

7. Headquartered in El Segundo, California, Internet Brands is a media
company that operates various websites and also develops and licenses Internet
software and social media applications. Within its Consumer Internet Division,
Internet Brands owns and operates more than 200 websites in nine different
categories, including travel.

8. Within the travel category, Internet Brands owns and operates twenty-
seven different travel related websites, including wikitravel.org (the “Wikitravel
Website”), which it acquired in 2005 for $1,700,000 from Evangelo Prodromou
and Michele Jenkins (the “Sellers”).

9. The Wikitravel Website is a website designed and operated to create a
free, complete, up-to-date, and reliable worldwide travel guide. To date, the
Wikitravel Website has over 62,000 destination guides and other articles written
and edited by travellers from around the globe.

10. In addition to owning the Wikitravel Website, Internet Brands owns
and has the rights to the trademark “WIKITRAVEL” (the “Trademark”), which it
has used consistently and continuously since 2005. Today, Wikitravel is one of the
largest and most popular travel information website in the world, known
worldwide by its tradename.

11. The content on the Wikitravel Website can be created, deleted,
modified, and otherwise edited by anyone, and is done so under a Creative
Commons Attribution ~ ShareAlike License (the “License”).

12. The License essentially provides that every contributor to the
Wikitravel Website gives the right to anyone else to copy the content, so long as
the copier gives attribution to the original content creator and retains the work and

COMPLAINT

 

 

 
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1 any derivative works under the same License.

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13. Internet Brands employs a strong team of technology, management,
and other business personnel to oversee, operate, and improve the Wikitravel
Website.

14. In addition, Internet Brands relies on its staff and dozens of volunteer
administrators (the Administrators”) to protect the quality of the content posted,
to remove spam, and to otherwise oversee the Wikitravel Website.

15. Defendant Holliday was an Administrator on Wikitravel from June
27, 2005 until August 21, 2012.

16. The Wikimedia Foundation is the organization that operates
Wikipedia.org and other “sister projects.”

17. The Wikimedia Foundation has raised tens of millions of dollars,
some of, which it intends to use for the benefit of “sister projects” including other
Wiki sites. |

18. Heilman is a Board member of Wikimedia Canada, which is the
thirty-third local chapter of the Wikimedia Foundation.

19, On February 23, 2012, Heilman signed up for an account on
Wikitravel, and, for the first time, posted on that site.

20. Heilman’s February 23" and subsequent posts were not for the benefit
of the Wikitravel users or its broad community, but were specifically for the
benefit of the Wikimedia Foundation. Specifically, he began a course of conduct
intended to usurp the Wikitravel community; these actions included deliberately
misleading statements, and Trademark infringement and violation of Internet
Brands’ intellectual property rights.

21. His plan was simple: create the illusion that Wikitravel Website was
substantially “broken” and that the Wikimedia Foundation, out of generosity and
benevolence, would be “bringing together,” “integrating” or “migrating”
Wikitravel to its control for the benefit and betterment of the Wiki community.

COMPLAINT

 

 

 
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22. Heilman announced that the “new” site, which would combine the
Wikitravel Website through a straw-man transaction with Wikivoyage.org (the
“Wikivoyage Website”) into a Wikimedia Foundation website that would be
called “Wiki Travel Guide” (the “Infringing Website”).

23. In order to help effectuate this plan, Heilman offered to assist the
formation of the Infringing Website, spearheading and organizing certain planning
and logistics of the infringing activity, and playing a broad and substantive role in
“carrying the water’ for the Infringing Website including the infringing acts.

24. Heilman was heavily involved in recruiting the support of others for
various aspects of the development of the Infringing Website, the violation of the
Trademark, and violation of the License.

25. In April, Heilman and Ryan engaged in an email thread with several
others involved in the scheme in which the parties specifically discussed keeping
the matter private for fear that Internet Brands would “get wind of it” and begin
“actively resisting.”

26. On July 12, 2012, Heilman met at the Wikimania convention with a
number of Administrators and others to reach a further meeting of the minds as to
the unlawful acts to be undertaken.

27. OnJuly 14, 2012, more clearly revealing their true intent of
converting the Wikitravel Website to its own project, the Wikimedia Foundation
asked Internet Brands to “donate” the Wikitravel Website, domain name, and the
trademark rights to WIKITRAVEL.

28. When Internet Brands refused, the defendants escalated their efforts to
trade on the Trademark, confuse the marketplace, misrepresent the origin, and
violate the License.

29. For example, on August 18, 2012, Holliday improperly and
wrongfully emailed at least several hundred of Wikitravel members, purporting to
be from Wikitravel and informing members that the Wikitravel Website was

COMPLAINT

 

 

 
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“migrating” to the Wikimedia Foundation. Upon information and belief, the
number emailed is far greater.

30. Specifically, Holliday’s email contained the Subject Line, “Important
information about Wikitravel” and its body stated, “This email is being sent to you
on behalf of the Wikitravel administrators since you have put some real time and
effort into working on Wikitravel. We wanted to make sure that you are up to
date and in the loop regarding big changes in the community that will affect the
future of your work! As you may already have heard, Wikitravel’s community is
looking to migrate to the Wikimedia Foundation.”

31. Holliday and Heilman clearly intended to confuse Wikitravel Website
participants into thinking the Wikitravel Website is migrating to Wikimedia, in
order to gain, through improper and illegal means, all the traffic and content
creators currently contributing to Wikitravel.

32. Holliday not only violated trademark laws, he violated the
administrative access given to him by Internet Brands by improperly using
personal information stored on Internet Brands’ servers about users and writing to
them by name, in an attempt to bolster the appearance of a direct communication
from the owners of the Wikitravel Website.

33. The defendants pride themselves in operating in a transparent fashion,
when in actuality, the defendants have deliberately misrepresented facts and
conspired with each other and many more to violate several laws in order to gain
personally. |

34, Worse still, the creation of “Wiki Travel Guide” has been done
without proper attribution to the original content creators, in clear violation of the
Attribution-Share License and the rights of the original creators.

| 35. The defendants Heilman and Holliday clearly have not acted alone.
Further investigation continues to reveal additional co-conspirators and additional

tortious and improper conduct. Additional defendants and causes of action are

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expected through amendment, potentially including other Administrators that have
been most corrupt in this scheme and any entity or individuals that provided them
support or otherwise participated in these wrongful acts. This potentially includes
the Wikimedia Foundation, members of its Board, other individual members of
the Foundation, or anyone else who acted tortiously.
COUNT I
COMMON LAW TRADEMARK INFRINGEMENT

36. Internet Brands re-alleges and incorporates the allegations set forth in
paragraph 1 through 35 herein

37. Internet Brands owns and uses the Wikitravel trademark and enjoys
common law rights to the trademark as set forth above and thus these rights are.
superior and senior to any rights that Defendants or anyone else may claim to the
Trademark.

38. Defendants’ use of the Trademark is intentionally designed to
replicate the Trademark owned by Plaintiff so as to likely cause confusion in the
marketplace as to the source of the Infringing Website, and designed to create the
illusion as to the affiliation with or creation by Internet Brands’ Wikitravel
Website.

39. Defendants’ actions are to the detriment of Plaintiff.

40. As aresult of the infringing acts by Defendants, Plaintiff has been and
continues to be injured and damaged.

COUNT I
FEDERAL UNFAIR COMPETITION, FALSE DESIGNATION OF ORIGIN
AND TRADE NAME INFRINGEMENT
(Lanham Act, §43(a), 15 U.S.C. §1125)

41. Internet Brands re-alleges and incorporates the allegations set forth in
paragraph 1 through 40 herein.

42. Defendants’ unauthorized use of a mark confusingly similar to

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Internet Brands’ Wikitravel trade name and trademarks for identical and related
products, i.e., an informational travel website, falsely indicates that Defendants’
and their website are connected with, sponsored by, affiliated with or related to
Wikitravel.

43. Defendants’ unauthorized use of a mark confusingly similar to
Internet Brands’ Wikitravel trade name and trademarks for an identical and related
website is likely to cause confusion, mistake or deception as to the source,
business affiliation, connection or association of Defendants and their website.

44. Defendants’ unauthorized use of a mark confusingly similar to
Internet Brands’ Wikitravel trade name and trademarks for identical and related
website allows Defendants to receive the benefit of Internet Brands’ Wikitravel
goodwill, which Internet Brands has established at great labor and expense, and
further allows Defendants to expand its business, based not on its own qualities,
but on the reputation and goodwill of Internet Brands’ Wikitravel.

45. The acts of Defendants complained of herein constitute unfair
competition, false designation of origin, and trade name infringement in violation
of Section 43(a) of the Lanham Act, 15 U.S.C. §1125(a).

46. Internet Brands is informed and believes and thereon alleges that
Defendants’ acts complained of herein have been deliberate, willful and
intentional, with full knowledge and in conscious disregard of Internet Brands’
rights in its Wikitravel trademark and with intent to trade off of Internet Brands’
vast goodwill in its mark.

47. Asaresult of the foregoing alleged actions of Defendants, Defendants
have been unjustly enriched and Internet Brands has been injured and damaged. -

COUNT I
UNFAIR COMPETITION
(Cal. Bus. Prof. Code §17200)
48. Internet Brands re-alleges and incorporates the allegations set forth in

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paragraph 1 through 47 herein.

49. Defendants are offering Administrators, contributors and other users a
competitive website by trading on Internet Brands’ Wikitravel Trademark.

50. Internet Brands is informed and believes and thereon alleges that
Defendants are profiting, directly or indirectly, through the use of Internet Brands’
Wikitravel Trademark in a deliberate, willful, intentional and wrongful attempt to
trade off of Internet Brands’ goodwill, reputation and financial investment in its
Wikitravel trademark.

51. By reason of the conduct described above, Defendants have engaged
in unlawful, unfair and/or fraudulent business practices, and is in violation of Cal.
Bus. & Prof. Code Section 17200 because it is likely to deceive and mislead the
public.

52. Asa direct result of Defendants’ unfair competition, Defendants have
unlawfully acquired, and continue to acquire on an ongoing basis, an unfair
competitive advantage and have engaged, and continue to engage, in wrongful
business conduct to their advantage and to the detriment of Internet Brands.

33. Asa result of the foregoing alleged actions of Defendants, Defendants
have been unjustly enriched and Internet Brands has been injured and damaged.

co IV
CIVIL CONSPIRACY

24. Internet Brands re-alleges and incorporates the allegations set forth in
paragraph 1 through 53 herein.

35. | Two or more persons, including both Defendants, had an agreement
or meeting of the minds to commit numerous tortious acts.

56. Two or more persons, including both Defendants did in fact commit
numerous tortious acts, as agreed.

57. The commission of those tortious acts caused Plaintiff injury and

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damages.
58. Asaresult, Defendants have been unjustly enriched and Internet
Brands has been injured and damaged.

JURY DEMAND
Plaintiffs request a jury trial on all claims so triable.

PRAYER FOR RELIEF
WHEREFORE, Internet Brands prays that:
1. Judgment be entered for Internet Brands on all claims.

 

2. Defendants, their agents, servants, employees, attorneys, and all others in
active concert or participation with any of them, be enjoined and restrained
permanently from:

(a) making visible use of the Internet Brands’ Wikitravel mark or any other
mark confusingly similar thereto;

(b) making any other trademark use of Internet Brands’ Wikitravel trade
name or trademark; and

(c) doing any other act or thing likely to confuse, mislead, or deceive others
into believing that Defendants or their affiliates, employers, contractors, or agents
are providing a website service that comes from, is affiliated with, connected with,
sponsored or approved by, or associated with Internet Brands’ Wikitravel Website;

3. Defendants be required to pay:

(a) damages, according to proof at trial;

(b) Internet Brands’ attorneys’ fees and costs of this action, as a result of
Defendants’ willful infringement of Internet Brands’ trademark; and

(c) punitive damages in an amount to be determined at trial as a result of
Defendant’s willful conspiracy to commit unlawful business practices.

4. Any other relief this Court deems just and appropriate.
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DATED: Augusy#/ 2012

Respectfully submitted,

iGENERALCOUNSEL, P.C.

By: ity hal Mh
Wendy Evelyn Gibefti

Attorney for Plaintiff INTERNET
BRANDS, INC., a Delaware
Corporation

 

 

 
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CIVIL CASE COVER SHEET ADDENDUM AND
STATEMENT OF LOCATION
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Thia form is required pursuant fo Local Rute 2.0 In all new olvil case filings in the Los Angeies Superior Court.

 

 

 

 

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12S sCateganb Nes 20 Pr * af." See Stap 3 Above:
Asset Forfeiture (05) 1 A6108 Asset Forfeiture Case 2.6,
3 Petillon re Aspiration (11} | £7 AG118 Petition to Compal/Confim/Vacate Arbitration 2,8.
3
= 1 A6161 Writ - Administrative Mandamus 2.8
& Writ of Mandate (02) | A6462. Wait - Mandantus on Limited Court Case Matter 2.
3 (1) A6153 Writ - Othar Limited Court Case Review 2.
Other Judicial Review (39) | C] AS150 Other Wit /Judlelel Review 2,8,
§ Antiirust/Trade Regulation (03) | 1 A8003 Aniltrust/Trade Reguiation
# Construction Dafect (40) Q A6007 Construction Dafact 1.,2., 3.
3 Claims Inver Mase Tort |r Ag008 Claime involving Mass Tort 1,2, 8
5 Securities Litigation (28) | (1 ASO35 Sscurities Litigation Case 14,2, 8°
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: Environmental (30) + | 2 48038 Toxke TorvEnvronmental 4a 24 Bey 8
\nrurn Oamuplee Cosa eat) C2 A8014 Insurance Coveraga/Subrogation (complex casa only) 1.4.2, 5,6.
CO) A6141 Sister State Judgment 2,9.
i  A6160 Abstract of Judgment 2,6,
: Enforcement ©) A6107 Confession of Judgment (non-domestic retations) 2., 8
2 af Judgment (20) © 6140 Administrative Agency Award (not unpaid taxes) 2,8.
os Q A8114 Patttion/Certificate for Entry of Judgment on Unpald Tax 2., 6.
Cl A8712 Other Enfercement of Judgment Caso 2, 8, 9.
RICO (27) OC A8033 Racketeering (RICO) Case 1,2, 8
{] AS030 Declaratory Relief Only . 1,28,
Other Complaints C1 A@040 Injunctive Rollef Only (not domesticharasament) 2,8,
s (Not Specified Above) (42) | ry AGO11 Other Commercial Complaint Case (nor-lortinon-complex) 1.,2, 8
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©) A6121 Civil Harassment 2,3, 9.
i . CO) A623 Workplace Harassment 2,3..9
4s Pettions (] AS124 EkderDapendent Adult Abuse Casa 2, 3.,9,
Z 5 (Not Specified Above) 1 A8190 Election Contast 2
43) @ AG110 Petition for Change of Nama 2.,7.
C A6170 Petition for Refief from Late Claim Law 2.3 4 8
C1 A6100 Other Civ! Pattticn 2.9.
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LAST Approved 03-04 AND STATEMENT OF LOCATION Page 3 of 4

 

 

 

 
Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 52 of 64

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Page ID #:54

 

SHORT TLE: CASE NUMBER

internet Brands, Inc. v. Willlam Ryan Holliday, et al.

 

 

 

 

item fll. Statement of Location: Enter the address of the accident, party's residence or place of business, performance, or other
circumstance indicated In Item I1., Step 3 on Page 4, as the proper reason for filing In the court location you selected.

 

ADDRESS:

REASON: Chack the appropriate boxes for the numbers shown =| 909 N. Seputveds Bivd., 11th Floor
under Column G for the type of action that you have selected for

 

 

this case. .
01. 02. 43. 04 OS. 06. 07. O8. O89. 010.

CIty: STATE: 2P COCE

El Segundo CA 90245

 

 

 

 

 

item IV. Declaration of Assignment: | declare under penalty of perjury under the laws of the State of California that the foregoing is true

and carrect and that the above-entitied matter Is property filed for assignment to the Torrance

courthouse In the

Southwest District of the Superior Court of Calliomia, County af Los Angeles (Cade Clv. Proc., § 362 et seq., and Local

Rute 2.0, subds. (b), (c) and (dj.

Dated: August 24, 2012

 

PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BSE FILED IN ORDER TO PROPERLY

COMMENCE YOUR NEW COURT CASE:

1. Original Complaint or Petition.

2. If fillng a Complaint, a completed Summons form for issuance by the Clerk.
3. Civil Case Cover Sheet, Jiidicla! Counell form CM-010.
4,

Civil Case Cover Sheet Addendum and Statament of Location form, LACIV 109, LASC Approved 03-04 (Rev.

03/114}.
Payment in full of the filing fee, unless.fees have been waived.

6. A-signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner Is a

minor under 18 years of age will be required by Court in order to issue a summons.

7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum

must be served along with the summons and complaint, or other Initiating pleading in the case.

 

LACIV 109 (Rev, 03/11) CIVIL CASE COVER SHEET ADDENDUM
LASC Approved 03-04 AND STATEMENT OF LOCATION

Local Rule 2.0
Page 4 of 4

 

 

 

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SUPERIOR COURT OF CALIFORNIA
COUNTY OF LOS ANGELES

 

 

 

Sauthweat Olst. 825 Maple Ave., Torrance, CA 80809 ~

COE ATE

{

 

 

 

 

 

 

NOTICE OF CASE MANAGEMENT CONFERENCE

TO THE PLAINTIFP(SVATTORNEV(G) FOR PLAINTIFFS) oF RECORD:

You ave ertiered to serve this actice of hearing on ail pattes/attameys of record fartiwith, and meet and confer with af
parttes/attomeys of record about the matters ta be discussed no tater han 30 days befora the Case Management Conference,

Your Case Menagement Conference has been scheduled at tha ccurhause addresa shown above on

[O41 ™ O40 om O

‘NOTICE TO OGFENDANT: - THE SETTING OF THE CASE MANAGEMENT CONFERENCE DOGS NOT EXEMPT THE
, ‘ T FROM FILING A RESPONSIVE PLEACING AS REQUIRED BY LAW.

 

 

 

 

 

 

 

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may fointly pattiss/atemeys’ record of irfdividtlaily pany/attomey of record. You must ine
Case and de fuly preparad to partcipate effectively in the Case Management Conference

aatabllanany 2 damement Contarenca, the Court may make pretrial orders including ine folowing, but not Amited te, on erder
-" establighing 2 discovery schedule, cconferer eg eeing the cage a Ahamalive Clapute Resciutien (ADRS, an order racigusilying the

Reducdion Act (Gov. Code aac eren® ard the til data: or clher orders to achieve the goais of te Trial Cou Gane
- Reduction Act (Gov. Code, § 68800 et seq) . . ot

Notica 1s he on that you da net fle ihe Case Management Statement or appear and olfectvely participate at ine Case
Manayuent Cofreen he Court ay enoca tos sere TA ae, eck parce te Cat
xections 7 ; 575.2, 383.180, $83,360 and 883.410, Gavemment Cade section 68608, subdivision (0), and Catifemia Rules of
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ome 80. : “STUART M. RICE

_ Judicial Officar .

. CERTIFICATE OF SERVICE . . . ‘
hee balaw named Executive OfficariCierk of the above-entited cout, do hereby certfy thet | em not to the cause
herem, and inet on tus dete | served the Notice of Case Management Conference upon each party or counsel neways '

o by depositing in the United States mad at tha courmouse in‘ Caer one copy af he original
Ned here” a separate rezled envelope ta each adress a3 sown below with Ure postage thereon huly eid

“WS. by porsanaty giving we party notice upon fing ofthe compain

 

 

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LAC 192 Rou o80 NOTICE OF - Cal. Rites of Coun, nies 8720-4730
_ VASE Approved 10-09 CASE MANAGEMENT CONFERENCE LASS Local Rutes, Chapter Seven

 

 
Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 54 o0f64 Page ID #:56

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VOLUNTARY EFFICIENT LITIGATION STIPULATIONS

 

‘The. Early Organizational: Meeting Stipulation, Discovery
Resolution Stipulation, and Motions in Limine Stipulation are
voluntary stipulations entered into by the parties. The parties «
may enter into one, two, oF all three of the stipulations;
however, they:may not alter the stipulations as en,
because the Court wants to ensure uniformity of application.
These stipulations are meant to encourage cooperation
between the parties and to assist in resolving Issues in a
| manner that promotes economic case resolution and judicial
efficiency.

The following organizations endorse ‘the - goal of
promoting efficiency in litigation and ask that counsel
consider. using these stipulatioris as a voluntary way fo
promote communications and procedures among counsel
and with the court fo fairly resolve issues in their cases.

 

nee «62CSi‘é‘|;:« @ Ls Arngeoles County Bar Association Litigation Section
Southern Gallfernia. . . . . :

@ Los Angeles County Bar Association

Labor and Employment Law Section¢

 

“Businase Titel Lawyore @ Consumer Attorneys Association of Los Angeles®
Southern California Defense Counssl@

Association of Business Trial Lawyers®

 

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_ Lawyers Association California Employment Lawyers Association®

 

 

 
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TELEPHONE NOs - "BAKO, (Optanafh

. E-MAIL ADDRESS :
. LSUPERIOR es OF CALIFORNIA, COUNTY OF LOS ANGELES |

 

 

 

ROAR

 

 

 

STIPULATION = EARLY ORGANIZATIONAL MEETING

 

 

 

This stipulation Is Intended to encourage cooperation among the parties at an early stage In
the litigation and to assist the parties In efficient case resolution. ot

The parties agree that:
1. The perties commit to conduct an Initial conference (in-person or via ‘teleconference or via

videoconference) within 15 days from the date this stipulation Is signed, fo d/seuss and consider
whetier there can.be agreement on tiie following: oo, :

Are motions. to challenge. the pleadings necessary? If the Issue can be resolved by

-amendment ag of right, or if. the: Court would. allow leave to amend, could an amended

complaint resolve most or ail of the issues a demurrer might otherwiee raise? If so, the parties

* agree to work through pleading issues so that a demurrer need onty raise issues they cannot

. fegoive, ts the lesue that the defendant secks to raise amenable to resolution on demurrer, or

d,

wiuld some other type of motion bé. preférable? _ Could’a voluntary targeted exchange of

documents -or information by any party cure an uncertainty in the pleadings? .
Initfal mutual exchanges of. decumants at the “core” of the litigation. (For example, in an

‘employment case, the employment records, personnel file ‘and documents relating to the

conduct In question could be considered “core.” In a personal Injury case, an Incident or
police report, medical records, and repalr or maintenance records could be considered
“core."); mo, .,

Exchange of names and contact Information of witnesses;

‘Any Insurance agreement that may be available to satisfy part or all of a judgment, or to

. indemnify or reimburse. for payments made to satisfy a Judgment;

‘ ‘ a . .
TASC Apert 41

Exchange of any other information that might-be helpful to facilitate understanding, handling,
or resolution of the case In a manner that preserves objections or privileges by agreement:

Controlling. Issues of law that, If rescived early, will promote efficiency and economy in other |

phases of the case. Also, when and how such Issues can be presented to the Court;

-Whether or when the case should be’ scheduled with a settlement officer, what discovery or

court ruling on legal Issues Is reasonably required to make settlement discussions meaningful,
and whether the parties wish fo use a sitfing judge or a private mediator or. other options as.

 

"STIPULATION = EARLY ORGANIZATIONAL MEETING meget er?

 

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“STIPULATION ~ DISCOVERY RESOLUTION |

 

This stipulgtion is intended to provide a fast and informal resolution of discovery issues
through tliniéd paperwork and an informal conference with the Court to ald in the
resolution of thé issues. -_ "

The parties agree that: .

1. Priof to the dlacovery: cut-off In this ‘action, na discovery motion shall be filed or heard unlese
'* thé moving party first makes a written réquest for an Informal Discovery Conference pursuant
to Tfie'trns Of this stipulation, — . . CS

- . arid determine whether it canbe resolved Informally. Nothing sat forth herein will preclude a
pay eo making a record-at the conclusion of an Informal Discovery Conférence, either:
orally or in writing... . , 7 ‘

2. Atthe Informal Discovery Conference the Court will consider the dispute presented by parties

* a,” Following a rééspnable and good falth attempt at an informal reeolution of each issue to be
. presented, a party may request an informal Discovery Conference pursuant to the following
a. The party requesting the Informal Discovery Conference will:

‘Fle @ Request for informal Discovery Cotiference with the clerk’s office on the

approved form (copy attached) and deliver a courtesy, conformed copy to the
assigned department; Co

“Ik Include a brief summary of the dispute and specify thé:rellef requested; and
lil. Serve the opposing party pursuant to.any authorized or agreed method of service
that ensures that the opposing party récelves ‘tie Request for Informal Discovery
Conference no later than the next court day following the filing. .
b. Any Answer to a Réquest for Informat Discovery Conference mist
I Alo be filed on the approved form (copy attached);
1. Include.a briéf summary of why the requested rellef should be denied;
Ree STIPULATION ~ DISCOVERY RESOLUTION page tof

 

 

 
Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 57 of 64 Page ID #:59

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. The following parties stipulate:

- Date: -
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Date: . . SO ”
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(VPE OR PRINT Rane) TORREY FGA OSPR]
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oo ORR) ATTORNEY FOR GEFEN)
Date: “
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; (HYPE CR PRINT RANE) ATTORNEY FOR
Date:
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. TAGES Ce” STIPULATION — DISCOVERY RESOLUTION

Page 3 of S

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Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 58 of 64 Page ID #:60

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WARE AND ADERESB 90 ATTORNEY OR PARTY WITHOUT ATTOSEN . TATE MAR AER Ravenad tey Clerk's Fe Strap

 

 

 

 

| ewe TELEPHONE NO.: FAXNO.{Optionalp
| SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
| COURTHOUSE ADDRESS: — ~d

 

 

 

 

__ STIPULATION AND ORDER ~ MOTIONS IN LIMINE

 

This stipulation ts Intended to provide fast. and Informal resolution ‘of evidentlary
‘ issues through diligent efforts to define and discuss such issues and limit paperwork.

The parties agree that:

1. At least days before the final status conference, each party will provide all other

parties. with a list containing a one paragraph explanation of each proposed motfon in

‘fimine, Each one paragraph explanation must identify the substance of a single proposed
mation in imine and the grounds for-the proposed motion. .

2. The parties thereafter will meet-and confer, elther in person’ or via teleconference or
videdconferenca, conceming ail proposed motions in limine. in that meat and confer, the
parties will determine: , 0 mo,

' a, Whettier the parties can stipulate to any of the proposed motions. if the parties so
stipulate, they may file a stipulation and proposed order with the Court.

b. Whether any of the proposed motions can be briefed and submitted by means of a
short joint statement of Issues. For each motion which can: be addressed by a short
joint statement of issues, a short joint statement of Issues must be filed with the Court
10 daya prior to the final status conference. Each side's portion of the short joint

' statemeént-of Issues may not excaed three pages. The parties will meet and confer to

agree on @ date and manner for exchanging the parties’ respective portions of the

. Short joint statement of issues and the process for fillng the short joint statement of
' Issues. -

3. All proposed motions [n limine that are not either the subject of a stipulation or briefed via
a short joint statement of issues will be briefed-and filed in accordance with the Califomia
_ Ru‘es of Court and the Los Angeles Superior Court Rules.

 

UAC ore tre) STIPULATION AND ORDER ~ MOTIONS IN LIMINE Page 4 of 2

 

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TELEPHONENO: . FAX ND, (Optional
GMAIL ACORESS’ : . °

SUPERIOR aaa OF CALIFORNIA, COUNTY OF LOS ANGELES |

 

 

 

INFORMAL DISCOVERY CONFERENCE
(pursuant to the Discovery Resolution Stipulation of the parties)

 

 

HAAKE, ANC] ADORED OF AYTOROREY OR PARTY WRTHOLIT ATTOCUTNS GATS Dea wae ‘ . Reaaresd tor Cutts File Stamp

 

1. This document relates to:
- Request for informal Discovery Conference
’ _ Answer to Request for informal Discovery Conference
2. Deadline for Court to decide on Request:
3. Deadline for Court to haid Informal Discovery Conference:
days following Ging of the Request}. not

 

 

 

@nsert dats 10 calendar days following filing of
(naart date 20 celsndar

4, For a Request for Informal Discovery Conference, briefly describe the ‘nature -of the
discovary dispute, Including the facts and: lagal. arguments: at {saue, For an Answer to
Request for Informal Discovery Conference, briefly describe why the Court should deny

the requested discovery, Includitig the facta and legal arguments at Issue.

 

“TAG 084 thew) INFORMAL DISCOVERY CONFERENCE
LASC Approved 04/11 (pursuant to the Discovery Resolution Stipulation of the parties)

 

 
Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 60 of 64 Page ID #:62

 

 

 

 

 

 

 

 

 

 

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' SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los ANGELES |
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INFORMAL DISCOVERY CONFERENCE CASEI
want to the D Resolution Stipulation of the parties)
. 1. This document relates to: .
; Request for Informal Discovery Conference
Answer to Request for Informal Discovery Conference
2, Deadline for Caurt to decide on Request: (seit dato 10 calendar days fotowing fing of
3. Deadiine for Court to hold Informal Discovery Conierence: : (Insert date 20 calender

4.

days following filng of tha Request).

For a Request for Informal Discovery Conference, briefly describe the nature of the
discovery dispute, including the facts and lagal arguments at lasue. For an Answer to
Request for Informal: Discovery Conference, briefly describe why the Court should deny
the requested discovery, Including the facts and legal arguments at Iesue,

 

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LASC Approved: 04/11

(pursuant to the Discovery Resolution! Stipulation of the parties)

 

 
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The.following parties stipulate:
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Date:

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“ATTORNEY FOR PLAINTIFE)
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| BRPORREV FOR

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(ATTORNEY FOR )

 

JUDICIAL OFFICER

 

7 UE ished, STIPULATION AND ORDER~ MOTIONS IN LIMINE page 20f2

 

 
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SUPERIOR COURT OF CALIFORNIA, COUNTY, OF L.08 ANGELES

ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION PACKAGE °
. ICRC 3.221 Information about Altemalive Dispute Reaolution) Coos
For additional ADR information and forms visit the Court ADR web application at www lesunartorcourt.ord (click on ADR). -

. The plaintif shall serve a copy of this Information Package on Gach defericant along with the. célitplaint (Civil only),
What Is ADR: Te . . a
Aitemative Dispute Resolution (ADR) Is the term used to describe all the other options available for setting a diapute which onca had to
be saitisd In court. ADR processes, such as arbitration, mediation, neutral evaluation (NE), and setilament conferances, are less formal
than @ cqurt process and provide opportunites for parties to reach an agreement using a problem-sahng appmach.

‘There are many diferent kinds of ADR All of them utlize a ‘neutral’, an impastial person, to decide the case or help tha parties mach an

Madiatins a me
In mediation, s neutral pereon called a “mediator” helps the parties try to reach a mutually acceptable resolution of the dispute. The
mediator’ does not decide the but the nloate to settle the Mei

on doe n wa na helps © parties communicate ao they can try tha dispute thamselvea. § edlation leaves

- Gases for Which Mediation May Be Appropriate dap «tum .
Mediation may be particularly use! en parties have a te between or among ly members, neighbors, or business
partners, Mediation la alao effective when emotions are getting inthe way of fesokiten, Ax etactive rhea rss nee
partiea out and help them communicate with each other |f\anéffective and nondestructive manner.

‘_ | Caase for Which Modiation May Not Be Appropriate

Horie of the parties has a significant acvantaga In power aver the other, Therefore, it may nol te a good choice if the parties
have a history of abuse or vedrmition, . -

Arbitration: —- CO oo. ;

, Tee shan, § neuirel peraon called an arbieiar” hears srgumena and evidence from each skie and then decides the outcome of the

onda" sng watson macs at pais ein est agen ee ee

"no Bax 4 means 16 pa ve ‘foe tial and egres.to accept | I 3 80 Final,

Nonbinding arbtration means thet the parties are free to request a trial If they do nat accept the arbittatei’s decision.

Cates for Which Arbitration May Bo Appropriate
to avoid the formality, time, arid expense of a bial. tt may also be sppropriate for complex matters where the paities want
to evel he for who has taining ot experience in the subject matter of the . 0 aes .

i perfes went to ween ration May Jat Be Approprete résclved, arbitration, particularly binding arbitration, is nat appropriate
over A on, , .
binding arbitration, the parties generally cannot dppedi.tha ‘dibltrator’s award, even if itis not supported by the evidertea or the

Jaw, Ever in nonbinding arbitration, If a party naquests a trial and does not receive a more favorable resutt at trial than in
in evabiaticn, each party gets a chance to present thé casa to a neutral person called ‘lan Sevaluator,” The evaliator then gives an

opinion the strengthe and wealtieases of each party's evidence are arguménts and about how the dispute could befeaolved. The
evaluator ie oftesi en expert in thie subject matter the dispute. Although the evaluators opinion ts not binding, the parties typicafly use it
a8 @ basis for tying to negotiate @ resphufon of thé dlepute, Poe,

Ceaes for Which Neutral Evahintion May Be Appropriate. . oe -
‘Neutral svaljation tay ba mest eppropilate fn cases.In which thera are technical. issues that require special expertise to resolve
ar the only significant issue in thé case ts the dmount of damages, : : .

‘Cases for Which Neutral Evafdation May Not Be Appropriate oe oo

‘Novirel evaluation mary not be epproptale afen fete ae sigcant prgora or emotional beriers to realvng the depute
Settlement Conferences: . ‘ - . ‘
Settles conferences may be elther mandatory or voluntary, in both types of aettiement confarances, tha partiaa and thelr atiomays
meet with & judge or a ieutral person called’a “esitiement officer” to discuss possible cettiement of thelr dispute. The fudge or settlement
.| Officer dées rot make a decision in the casa but asalsts the partes In evaluating the strengths ahd weaknesses of the casa and In
"| negetiatthg a settlement. Settienient conferences ere appiopriate in any case where settlement ls an opiion, Mandatory settiament
conferences are often held. cloee to the date a case Ia set for trial,

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f *

 

F777 ~ adhatioN may noc ber efleetve if onmret tier perties ls unealiing'ta cooperate orcompromise: Mediation also may not be effective -|

Arbitration is best for.casea where he parties want another bersod td dacide the cutconie of their dispute for them but would itka |

 

a ~ ERNDA OOS (RewA2-05) - ee . , ; . we ew se etme oe. - Page tofa
LASC Approved 65-08 ~ .

 

 

 
Case 2:12-cv-08088-SVW-RZ Document1 Filed 09/19/12 Page 63 of 64 Page ID #:65

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— INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES
hs flowing critical provisions of the Chapter Three Rules, as applicable in the Central District, are summarized for your assistance.

The Gapter Thres Rules were elfective January 1, 1994. They apply to all general civil cases,

RIG PER OTHER RULES

The Gapter Three Rules shall have priority over all other Local Rules to the extent the others are inconsistent. ,

CHALLENGE TO ASSIGNED JUDGE

A chalenge under Code of Civil Procedure section 170.6 rust be made within 15 days after notice of assignment for all purposes to
ajudge, or ifa party has not yet appeared, within 15 days of the first appearance, .

Caseaissigned to the Individual Calendaring Court will be subject to processing under the following time standards:
COMPLAINTS: All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days of filing.

CROSS-COMPLAINTS: Without leave of court first being obtained, no cross-complaint may be filed by any party after their
snsWeis filed. Cross-complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the
_ filing date, - oe

A Status Conferente will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,

trial dato, and expert witnesses.

’ HINAL STATUS CONFERENCE

The Court will require the parties at a status conforence not more than 10 days before the trial to have timely filed and served all
motions in limine, bifurcation motions, Statements of major evidentiary issues, dispositive motions, requested jury instructions, and

SANCTIONS |
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the Court,
and time standards or deadlines established by the Court or by the Chapter Three Rules, Such sanctions may be on a party or if

appropriate on counsel for the party.
This is not a complete delineation of the Chapter Three Rules, and adherence only to the above provisions is therefore

not a guarantee against the imposition of sanctions ander Trial Court Delay Reduction. Carefu) reading and
compliance with the actual Chapter Rules is absolutely imperative, , a :

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LASC Approved 05-06
For Optional Use UNLIMITED CIVIL CASE

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